Case 2:05-cv-04182-SRD-JCW Document 1405-8 Filed 10/23/06 Page 1 of5

Exhibit 8 |
Case 2:05-cv-04182-SRD-JCW Document 1405-8 Filed 10/23/06 Page 2 of 5

United States Government Accountability Office

GAO

Testimony

Before the Committee on Environment
and Public Works, U.S. Senate

For Release on Delivery
Expected at 9:30 a.m. EST
‘ Wednesday, November 9, 2005

ARMY CORPS OF
ENGINEERS

History of the Lake
Pontchartrain and Vincinity
Hurricane Protection

Project

Statement of Anu Mittal, Director
Natural Resources and Environment

kkk

_ aia Accountability * Integrity * Reliability =.

GAO-06-244T
Case 2:05-cv-04182-SRD-JCW Document 1405-8 Filed 10/23/06 Page 3 of 5

& GAO

amie Integrity: Reliability

Highlights —

Highlights of GAO-06-244T, a testimony
before the Committee on Environment and
Public Works, U.S. Senate

Why GAO Did This Study

mo

The greatest natural threat.posed
to the New Orleans area is from
hurricane-induced storm surges,
waves, and rainfalls. A hurricane
surge that can inundate coastal
lowlands is the most destructive
characteristic of hurricanes and

accounts for most of the lives lost. __
from hurricanes. Hurricane surge”
heights along the Gulf and Atlantic .--

coasts can exceed 20.feet: The

effects of hurricane Katrina flooded —

a large part of New Orleans and

breeched the levees that are part of -

the U.S. Army. Corps.of Engineers
(Corps) Lake Pontchartrain, and.
Vicinity, Louisiana Hurricane
: Protection Project...This project, -
first authorized in 1965, was

designed to protect the lowlands in os
the Lake Pontchartrain tidal basin ..:
from flooding by hurricane-induced -

_ sea surges and. rainfall.
~GAO.is providing information on.”

(1) the purpose and history of the. :

Lake Pontchartrain; and Vicinity,
Louisiana Hurricane Protection
Project and (2) funding of the :
project.

GAO is not making any

recommendations in this
testimony.

www.gao.gov/cgibin/getrpt? GAO-06-244T

To:view the full:product, including the scope’

and methodology, click on the link above.
For more information, contact Anu Mittal at
(202) 512-3841 or mittala@ gao.gov.

ARMY CORPS OF ENGINEERS

History of the Lake Ponchartrain and
Vicinity Hurricane Protection Project

What GAO Found

Congress first authorized the Lake Pontchartrain and Vicinity, Louisiana
Hurricane Protection Project in the Flood Control Act of 1965. The project
was to construct a series of control structures, concrete floodwalls, and
levees to provide hurricane protection to areas around Lake Pontchartrain.
The project, when designed, was expected to take about 13 years to
complete and cost about $85 million. Although federally authorized, it was a
joint federal, state, and local effort.

The original project designs were developed based on the equivalent of what
is now called a fast-moving Category 3 hurricane that might strike the
coastal Louisiana region once in 200-300 years. As GAO reported in 1976 and
1982, since the beginning of the project, the Corps has encountered project.
delays and cost increases due to design changes caused by technical issues,
environmental concerns, legal challenges, and local opposition to portions of
the project. As a result, in 1982, project costs had grown to $757 million and
the expected completion date had slipped to 2008. In the mid-1980s, the
Corps shifted to an alternative project design; however, this change did not
affect the level of protection provided to New Orleans because the
alternative design selected was expected to provide the same level of
protection as the original design. When Hurricane Katrina struck, the
project, including about 125 miles of levees, was estimated to be from 60-90
percent complete in different areas with an estimated completion date for
the whole project of 2015. The floodwalls along the drainage canals that
were breached were complete when the hurricane hit.

The pre-Katrina estimated cost of construction for the completed project
was $738 million with the federal share being $528 million and the local
share $210 million. Federal allocations for the project were $458 million as
of the enactment of the fiscal year 2005 federal appropriation. This
represents 87 percent of the federal government’s responsibility of $528
million with about $70 million remaining to complete the project. Over the
last 10 fiscal years (1996-2005), federal appropriations have totaled about
$128.6 million and Corps reprogramming actions resulted in another $13
million being made available to the project. During that time, appropriations
have generally declined from about $15-20 million annually in the earlier
years to about $5-7 million in the last three fiscal years. While this may not
be unusual given the state of completion of the project, the Corps’ project
fact sheet from May 2005 noted that the President’s budget request for fiscal
years 2005 and 2006, and the appropriated amount for fiscal year 2005 were’
insufficient to fund new construction contracts. The Corps had also stated
that it could spend $20 million in fiscal year 2006 on the project if the funds
were available. The Corps noted that several levees had settled and needed
to be raised to provide the level of protection intended by the design.

United States Government Accountability Office -

Case 2:05-cv-04182-SRD-JCW Document 1405-8 Filed 10/23/06 Page 4o0f 5

Mr. Chairman and Members of the Committee:

We are pleased to be here today to discuss the U.S. Army Corps of
Engineers (Corps) Lake Pontchartrain, and Vicinity, Louisiana Hurricane
Protection Project. This project, first authorized in 1965, was designed to
protect the lowlands in the Lake Pontchartrain tidal basin within the
greater New Orleans metropolitan area from flooding by hurricane-
induced sea surges and rainfall. As you know, the effects of Hurricane
Katrina breeched the levees that are part of this project and flooded a
large part of New Orleans. In my testimony, I will discuss (1) the purpose
and history of the project and (2) funding of the project. This statement is
based on GAO’s past reports on the Lake Pontchartrain and Vicinity,
Louisiana Hurricane Protection Project and on the Corps’ flood control
efforts in general, which we updated as necessary.’

In summary, the Lake Pontchartrain hurricane project was designed to
protect areas around the lake from flooding caused by a storm surge or
rainfall associated with a standard project hurricane, which is roughly the
same as what is now classified as a fast moving Category 3 hurricane. The
project, when designed in the mid-1960s, was expected to take about 13
years to complete and cost about $85 million. Over the years, the project
‘has undergone some significant design changes as a result of a successful
court challenge, local opposition to certain aspects of the proposed
design, and changed Corps thinking about the most cost-effective
approach. None of these changes, however, affected the level of protection
provided to New Orleans becausé the alternative design selected was
expected to provide the same level of protection. As of early 2005, the
project was not expected to. be completed until 2015—nearly 50 years after
it was first authorized—and cost about $738 million, much of the cost
increase is due to inflation over the years and changes to the scope and
design of the project. In recent years, questions have been raised about the
ability of the project to protect the New Orleans area from hurricanes
greater than Category 3. This issue was only beginning to be studied by the
Corps when Hurricane Katrina hit the area in August 2005.

‘GAO, Cost, Schedule, And Performance Problems Of The Lake Pontchartrain And
Vicinity, Louisiana, Hurricane Protection Project, GAO/PSAD-76-161 (Washington, D.C.:
Aug. 31, 1976); GAO, Improved Planning Needed By The Corps Of Engineers To Resolve
Environmental, Technical, And Financial Issues On The Lake Pontchartrain Hurricane
Protection Project, GAO/MASAD-82-39 (Washington, D.C.: Aug. 17, 1982); and GAO, Army
Corps of Engineers: Lake Pontchartrain and Vicinity Hurricane Protection Project,
GAO-05-1050T (Washington, D.C.: Sept. 28, 2005).

Page 1 : GAO-06-244T
Case 2:05-cv-04182-SRD-JCW Document 1405-8 Filed 10/23/06 Page 5of5

certain other parts of the project until a revised environmental impact
statement was prepared and accepted. After the court order, the Corps
decided to change course and completed a project reevaluation report and
prepared a draft revised Environmental Impact Statement in the mid-1980s
that recommended abandoning the barrier plan and shifting to the high-
level plan originally considered in the early 1960s. Local sponsors
executed new agreements to assure their share of the non-federal
contribution to the revised project. The level of protection provided to
New Orleans was not expected to change because the high-level design
was expected to provide the same level of protection as the original
barrier design.

As of 2005, the project as constructed or being constructed included about .
125 miles of levees and the following major features:

¢« New levee north of Highway U.S. 61 from the Bonnet Carré Spillway East.
Guide Levee to the Jefferson-St. Charles Parish boundary

- Floodwall along the Jefferson-St. Charles Parish boundary
. Enlarged levee along the Jefferson Parish lakefront
¢ Enlarged levee along the Orleans Parish lakefront

-« Levees, floodwalls, and flood proofed bridges along the 17th Street,
Orleans Avenue and London Avenue drainage canals

« Levees from the New Orleans lakefront to the Gulf Intracoastal Waterway

* Enlarged levees along the Gulf Intracoastal Waterway and the Mississippi
River-Gulf Outlet

« New levee around the Chalmette area.

The project also includes a mitigation dike on the west shore of Lake
Pontchartrain.

The pre-Katrina estimated cost of construction for the completed project
was $738 million with the federal share being $528 million and the local
share $210 million. The estimated completion date as of May 2005 for the
whole project was 2015. Prior to Katrina, the project was estimated to be
from 60-90 percent complete in different areas. The work in Orleans Parish
was estimated to be 90 percent complete with some work remaining for

Page 6 GAO-06-244T
